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     Assistant United States Attorney
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8    Attorneys for Plaintiff
     UNITED STATES OF AMERICA
9
                             UNITED STATES DISTRICT COURT
10
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
11
     UNITED STATES OF AMERICA,                No. See Attachment A
12
                Plaintiff,
13                                            NOTICE OF DEPARTURE FROM THE
                      v.                      UNITED STATES ATTORNEY’S OFFICE;
14                                            ATTACHMENT A
     See Attachment A,
15
                Defendant.
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18
           Plaintiff, United States of America, hereby advises the court
19
     that George Emel Pence IV is departing the United States Attorney’s
20
     Office, and all the cases in Attachment A should have the contact
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     Case 8:20-cr-00127-MWF Document 228 Filed 12/10/21 Page 2 of 4 Page ID #:2831



1    information replaced with the generic USAO email used for docketing.

2     Dated: December 9, 2021              Respectfully submitted,

3                                          TRACY L. WILKISON
                                           United States Attorney
4
                                           CHRISTOPHER D. GRIGG
5                                          Assistant United States Attorney
                                           Chief, National Security Division
6
                                            /s/
7                                          GEORGE E. PENCE
                                           Assistant United States Attorney
8                                          Attorneys for Plaintiff
                                           UNITED STATES OF AMERICA
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                         ATTACHMENT A
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1     2:08-cr-00820
      2:13-cr-00157
2     2:15-cr-00194
      2:15-cr-00534
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      2:15-cr-00559
4     2:16-cr-00067
      2:16-cr-00133
5     2:16-cr-00225
      2:16-cr-00260
6     2:16-cr-00352
      2:16-cr-00394
7     2:16-cr-00256
      2:16-cr-00614
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      2:16-cr-00721
9     2:16-cv-04397
      2:17-cr-00111
10    2:17-cr-00193
      2:17-cr-00301
11    2:17-cr-00369
      2:18-cr-00733
12    2:19-cr-00014
      2:19-cr-00015
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      2:19-cr-00017
14    2:94-cr-00623
      5:17-cr-00078
15    8:20-cr-00127

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